Case 1:10-cr-00254-JTN        ECF No. 271, PageID.1042          Filed 11/02/15     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 1:10-cr-254

v.                                                         HON. JANET T. NEFF

MIGUEL MELLIN-CASTILLO,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Miguel Mellin-Castillo has filed a motion for modification or reduction of

sentence (Dkt 258) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department has filed a Sentence Modification Report (Dkt 265) and Defendant has filed a Response

(Dkt 266) objecting to the findings of the Report. The Government has filed a Response to the

Sentence Modification Report (Dkt 270).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       Having fully considered the Sentence Modification Report (Dkt 265), Defendant’s response

(Dkt 266) and Government’s response (Dkt 270), the Court has determined that the defendant is
Case 1:10-cr-00254-JTN          ECF No. 271, PageID.1043        Filed 11/02/15     Page 2 of 2




ineligible for a reduction of sentence according to the policy statements of the U.S. Sentencing

Commission. Defendant does not qualify for a reduction because his original sentence was below

the amended guidelines range.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 258) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: November 2, 2015                             /s/ Janet T. Neff
                                                   JANET T. NEFF
                                                   United States District Judge




                                               2
